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                                                               U.S.


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                                                       CENTRAL OISTRtCT OF       DEPUTY
                                                       BY




                   UNITED STATES DISTRICT COURT
                  CENTRAL DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA,                      Case No.: C-R 2D-035O -- ~ G ~
                   Plaintiff,                      ORDER [OF DETENTION]
                                               AFTER HEARING HELD PURSU~4NT
      vs.                                          TO 18 U.S.C. § 3148(B)
Ru~Xk~ S~'~                                     (Alleged Violation of Conditions of
                   Defendant.                             Pretrial Release)

                                          I
                                          :~
      A warrant for arrest of the defendant for the alleged violation of conditions of
pretrial release having been issued by Judge J~~ ~dS ~-~► ~'1lu~ ,and the Court
having conducted a hearing on the alleged violation(s),
                                          B.
      The Court finds
(1)
      (A)   ( )    that there is probable cause to believe that the defendant has
                   committed a Federal, State, or local crime while on release; or
      (B)   ~      that there is clear and convincing evidence that the defendant has
                   violated any other condition of release, specifically the following:

              Dc fwda~rn~ ~~~ not s~ vre v~de~r~ a~ C~ ~vase pQ s s IPrn~-.
              De ~~~+~ Inad a~~ ~s ed p►~ov~e s w ~~ W~ C~a~
              aP~O I~~a-hw~ , De fc v~c7l and- vvas uH~v►~ p-I-i to se c.u~►r~
              ~YOI,V~Pi~ ~ U~t YV1~P.VI'~ il~ of -~Gl ~ S e vlC~IM
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 1                                 and
 2 (2)
 3       (A) ~       that based on the factors set forth in 18 U.S.C. § 3142(g),there is no
 4                   condition or combination ofconditions ofrelease that will assure that
 5                   the defendant will not flee or pose a danger to the safety or any other
 6                   person or the community; or
 ~       (B) P9, that the defendant is unlikely to abide by any condition or
 8                   combination of conditions of release.
 9                         and/or, in the event of(1)(A)
10 (3)        () that the defendant has not rebutted the presumption that no condition
11                   or combination ofconditions will assure that the person will not pose
12                   a danger to the safety of any other person or the community.
13                                           or

14 (4)        () that there are conditions ofrelease that will assure that the defendant
15                   will not flee or pose a danger to the safety of any other person or the
16                   community,and that the defendant will abide by such conditions. See
1~                   separate order setting conditions.
18            ( ) This Order shall be stayed for 72 hours in order to allow the
19                   Government to seek review from the [assigned District Judge]
20                   [criminal duty District Judge].
21                                           or

22                                           C.

23       ~ IT IS ORDERED that the defendant be detained prior to trial..
24

25   DATED: ~ ~~1    ~~~ ~~
                                         JEAN ROSENBLUTH
26                                       U.S. MAGISTRATE JUDGE
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